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                          UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

        JONELLE HARRIS, individually and on behalf
        of all others similarly situated,

                                Plaintiff,
                -against-                                         No. 21 Civ. 9946

        OLD NAVY, LLC,

                                Defendant.                           CLASS ACTION
                                                                      COMPLAINT


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         Jonelle Harris (“Plaintiff”), individually and on behalf of all others similarly situated, as

class representative, upon personal knowledge as to herself, and upon information and belief as to

other matters, alleges as follows:

                                     NATURE OF THE ACTION

         1.     This lawsuit seeks to recover underpayment caused by untimely wage payments and

other damages for Plaintiff and similarly situated non-exempt hourly positions such as sales

representatives (collectively, “Hourly Workers”) who work or have worked for Old Navy, LLC

(“Old Navy” or “Defendant”) in New York State.

         2.     At all relevant times, Defendant has compensated Plaintiff and all other Hourly

Workers in New York on a bi-weekly basis.

         3.     Despite being manual workers, Defendant has failed to properly pay Plaintiff and

other Hourly Workers in New York their wages within seven calendar days after the end of the



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week in which these wages were earned.

       4.      In this regard, Defendant has failed to provide timely wages to Plaintiff and all other

similarly situated Hourly Workers in New York.

       5.      Plaintiff brings this action on behalf of herself and all other similarly situated

Hourly Workers in New York pursuant to Federal Rule of Civil Procedure 23 (“Rule 23”) to

remedy violations of the New York Labor Law, Article 6, §§ 190 et seq. (“NYLL”).

                                         THE PARTIES

Plaintiff

       Jonelle Harris

       6.      Jonelle Harris (“Harris”) is an adult individual who is a resident of Bronx, New York.

       7.      Harris was employed by Old Navy as an Hourly Worker from in or around 2018

through approximately January 2021.

       8.      Harris is a covered employee within the meaning of the NYLL.

Defendant

       Old Navy, LLC

       9.      Old Navy, LLC is a foreign business corporation organized and existing under the

laws of Delaware.

       10.     Old Navy, LLC’s principal executive office is located at 2 Folsom Street, San

Francisco, California 94105.

       11.     Old Navy, LLC was and is a covered employer within the meaning of the NYLL,

and at all times relevant, employed Plaintiff and similarly situated employees.

       12.     Old Navy, LLC has maintained control, oversight, and direction over Plaintiff and

similar employees, including timekeeping, payroll, and other employment practices that applied




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to them.

       13.     Old Navy, LLC applies the same employment policies, practices, and procedures

to all Hourly Workers in its operation, including policies, practices, and procedures with respect

to payment of wages.

                                  JURISDICTION AND VENUE

       14.     This Court has original jurisdiction pursuant to the Class Action Fairness Act of

2005 (“CAFA”), codified at 28 U.S.C. § 1332(d), because the amount in controversy against the

Defendant in this matter exceeds the sum or value of $5,000,000, exclusive of interest and costs,

and Plaintiff and the members of the proposed class are citizens of states different from that of

Defendant.

       15.     There are over 100 members in the proposed class.

       16.     Defendant is subject to personal jurisdiction in New York.

       17.     Venue is proper in the Southern District of New York pursuant to 28 U.S.C. §

1391(b)(2) because a substantial part of the events or omissions giving rise to the claims occurred

in this District, and Defendant conduct business in this District.

                        NEW YORK CLASS ACTION ALLEGATIONS

       18.     Plaintiff brings the First Cause of Action, an NYLL claim, under Rule 23 of the

Federal Rules of Civil Procedure, on behalf of themselves and a class of persons consisting of:

               All persons who work or have worked as Hourly Workers for
               Old Navy, LLC between November 24, 2015 and the date of
               final judgment in this matter (the “New York Class”).

       19.     The members of the New York Class are so numerous that joinder of all members

is impracticable, and the disposition of their claims as a class will benefit the parties and the Court.

       20.     There are more than fifty members of the New York Class.




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       21.     Plaintiff’s claims are typical of those claims that could be alleged by any member

of the New York Class, and the relief sought is typical of the relief which would be sought by each

member of the New York Class in separate actions.

       22.     Plaintiff and the New York Class have all been injured in that they have been

uncompensated, under-compensated, or untimely compensated due to Defendant’s common

policies, practices, and patterns of conduct. Defendant’s corporate-wide policies and practices

affected everyone in the New York Class similarly, and Defendant benefited from the same type

of unfair and/or wrongful acts as to each member of the New York Class.

       23.     Plaintiff is able to fairly and adequately protect the interests of the New York Class

and has no interests antagonistic to the New York Class.

       24.     Plaintiff is represented by attorneys who are experienced and competent in both

class action litigation and employment litigation and have previously represented many plaintiffs

and classes in wage and hour cases.

       25.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a large number of similar persons to

prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

       26.     Common questions of law and fact exist as to the New York Class that predominate

over any questions only affecting Plaintiff and/or each member of the New York Class individually

and include, but are not limited to, the following:

               (a) whether Defendant correctly compensated Plaintiff and the New
                   York Class on a timely basis.



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                             PLAINTIFF’S FACTUAL ALLEGATIONS

         27.   Consistent with their policies and patterns or practices as described herein,

Defendant harmed Plaintiff, individually, as follows:

         Jonelle Harris

         28.   Harris was employed at the Old Navy store located at 300 125th Street, New York,

New York 10027 as an hourly employee from approximately 2018 through January 2021.

         29.   During Harris’s employment, over twenty-five percent of Harris’s duties were

physical tasks, including but not limited to: (1) stocking shelves and clothing racks; (2) cleaning

and organizing fitting rooms; (3) folding clothes; (4) sorting clothing racks; (5) hanging clothes;

(6) opening, moving, stacking and lifting boxes; and (7) standing for long periods of time.

         30.   Despite regularly spending more than twenty-five percent of her shift performing

these physical tasks, Harris has been compensated by Defendant on a bi-weekly basis.

         31.   As a result of Defendant’s untimely wage payments, Harris was underpaid for the

first seven days of each bi-weekly pay period, and thus Defendant paid Harris on an untimely

basis.

                               FIRST CAUSE OF ACTION
                    New York Labor Law – Failure to Pay Timely Wages
                   (Brought on behalf of Plaintiff and the New York Class)

         32.   Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

         33.   The timely payment of wages provisions NYLL § 191 and its supporting

regulations apply to Defendant and protect Plaintiff and the New York Class.

         34.   Defendant failed to pay Plaintiff and the New York Class on a timely basis as

required by NYLL § 191(1)(a), which resulted in Plaintiff and the New York Class being




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underpaid.

       35.     Due to Defendant’s violations of the NYLL, Plaintiff and the New York Class are

entitled to recover from Defendant the amount of the underpayments caused by their untimely

wage payments as liquidated damages, reasonable attorneys’ fees and costs, and pre-judgment and

post-judgment interest as provided for by NYLL § 198.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually, and on behalf of all other similar persons,

respectfully request that this Court grant the following relief:

       A.      Certification of this case as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure;

       B.      Designation of Plaintiff as representative of the New York Rule 23 Class and

counsel of record as Class Counsel;

       C.      Liquidated damages permitted by law pursuant to the NYLL.

       D.      Prejudgment and post-judgment interest;

       E.      Reasonable attorneys’ fees and costs of the action; and

       F.      Such other relief as this Court shall deem just and proper.


Dated: New York, New York
       November 24, 2021


                                               Respectfully submitted,



                                               Brian S. Schaffer

                                               FITAPELLI & SCHAFFER, LLP
                                               Brian S. Schaffer
                                               Dana M. Cimera



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                             Attorneys for Plaintiff and
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